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 3

 4                                    UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
 5                                                DIVISION
      IN RE:                                                       CASE NO: 23-41386
 6
       SIDHARTHA MUKHERJEE                                         DECLARATION OF MAILING
       SUNITA MUKHERJEE                                            CERTIFICATE OF SERVICE
 7
                                                                   Chapter: 13
 8

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11   On 6/4/2024, I did cause a copy of the following documents, described below,
     Notice of Trustee Final Report
12

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15

16

17

18
     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19   sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
21   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
22
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
23
     DATED: 6/4/2024
24                                                    /s/ H. JEFFERSON LEFORCE
                                                      H. JEFFERSON LEFORCE 00791094
25

26                                                    500 NORTH CENTRAL EXPRESSWAY
                                                      PLANO, TX 75041
27                                                    972 943 2580
                                                      cos@ch13plano.com
28
              Case 23-41386            Doc 101         Filed 06/04/24 Entered 06/04/24 13:03:26                         Desc Main
 1                                                     Document      Page 2 of 10

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 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                        EASTERN DISTRICT OF TEXAS
                                                   DIVISION
 5
        IN RE:                                                           CASE NO: 23-41386
 6
        SIDHARTHA MUKHERJEE                                              CERTIFICATE OF SERVICE
        SUNITA MUKHERJEE                                                 DECLARATION OF MAILING
 7
                                                                         Chapter: 13
 8

 9

10

11   On 6/4/2024, a copy of the following documents, described below,

     Notice of Trustee Final Report
12

13

14

15

16

17

18

19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 6/4/2024
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                H. JEFFERSON LEFORCE

28                                                                500 NORTH CENTRAL EXPRESSWAY
                                                                  PLANO, TX 75041
            CaseMAILING
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ABERNATHY ROEDER BOYD AND HULLETT P.C.   AIS PORTFOLIO SERVICES LP               ALLY CAPITAL
1700 N. REDBUD BLVD. #300                4515 N SANTA FE AVE DEPT APS            PAYMENT PROCESSING CENTER
MCKINNEY, TX 75069                       OKLAHOMA CITY, OK 73118                 PO BOX 78367
                                                                                 PHOENIX, AZ 85062




ALLY CAPITAL C/O AIS PORTFOLIO           ALLY CAPITAL, C/O AIS PORTFOLIO         ALLY FINANCIAL
SERVICES, LLC                            SERVICES, LL                            PO BOX 130424
4515 N. SANTA FE AVE. DEPT. APS          4515 N SANTA FE AVE. DEPT. APS          SAINT PAUL, MN 55113-0004
OKLAHOMA CITY, OK 73118                  OKLAHOMA CITY, OK 73118




AMERICAN EXPRESS NATIONAL BANK           AMEX                                    ATTORNEY GENERAL OF TEXAS
C/O BECKET AND LEE LLP                   CORRESPONDENCE/BANKRUPTCY               BANKRUPTCY SECTION
PO BOX 3001                              PO BOX 981540                           400 SOUTH ZANG STE 1100
MALVERN, PA 19355-0701                   EL PASO, TX 79998                       DALLAS, TX 75208




BANK OF AMERICA                          BANK OF AMERICA NA                      BANK OF AMERICA NA
PO BOX 982238                            PO BOX 15102                            PO BOX 673033
EL PASO, TX 79998-2238                   WILMINGTON, DE 19886                    DALLAS, TX 75267




                                         CM/ECF E-SERVICE
CEASONS HOLDINGS                         CEASONS HOLDINGS LLC +                  CEASONS HOLDINGS, LLC
16818 DALLAS PKWY 200                    16818 DALLAS PARKWAY                    C/O HOWARD MARC SPECTOR
DALLAS, TX 75248                         DALLAS, TX 75248                        12770 COIT RD, ST 850
                                                                                 DALLAS, TX 75251




CHAPTER 7 BANKRUPTCY TRUSTEE LINDA S.    COLLIN COUNTY TAX ASSESSOR              COLLIN COUNTY TAX ASSESSOR/COLLECTOR
PAYNE                                    2300 BLOOMINGDALE RD STE 2324           PO BOX 8046
11700 PRESTON RD., STE 660-667           MCKINNEY, TX 75071                      MCKINNEY, TX 75070-8046
DALLAS, TX 75230




                                                                                 CM/ECF E-SERVICE
COLLIN COUNTY TAX ASSESSOR/COLLECTOR     CONNIE & JULIO QUINTANA                 DIPAK PRAVIN +
C/O ABERNATHY RODER BOYD & HULETT PC     C/O JOHNATHAN WHARTON                   C/O JOYCE W. LINDAUER
1700 REDBUD BLVD SUITE 300               P.O. BOX 472027                         JOYCE W. LINDAUER ATTORNEY, PLLC
MCKINNEY, TX 75069                       FORT WORTH, TX 76147                    1412 MAIN STREET, SUITE 500
                                                                                 DALLAS, TX 75202




DIPAKKUMAR P PRAVIN                      DISCOVER BANK                           DISCOVER BANK DISCOVER PRODUCTS INC
7432 BRADFORD PEAR DRIVE                 DISCOVER PRODUCTS INC                   PO BOX 3025
IRVING, TX 75063                         PO BOX 3025                             NEW ALBANY, OH 43054-3025
                                         NEW ALBANY, OH 43054-3025




                                         CM/ECF E-SERVICE
ED GEZEL                                 HARPREET SINGH +                        HARPREET SINGH
PO BOX 131265                            C/O JOYCE W. LINDAUER                   C/O JOYCE W. LINDAUER
ROSEVILLE, MN 55113-0011                 JOYCE W. LINDAUER ATTORNEY, PLLC        JOYCE W. LINDAUER ATTORNEY, PLLC
                                         1412 MAIN STREET, SUITE 500             1412 MAIN ST., SUITE 500
                                         DALLAS, TX 75202                        DALLAS, TX 75202
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HOWARD MARC SPECTOR                      INTERNAL REVENUE SERVICE                  JAIESH NARSIAN +
SPECTOR & COX PLLC                       CENTRALIZED INSOLVENCY OPERATIONS         C/O JOYCE W. LINDAUER
12770 COIT ROAD, SUITE 850               PO BOX 7346                               JOYCE W. LINDAUER ATTORNEY, PLLC
DALLAS,, TX 75251-1364                   PHILADELPHIA, PA 19101-7346               1412 MAIN STREET, SUITE 500
                                                                                   DALLAS, TX 75202




JAMES M. MORRISON                        JOHN DAVENPORT                            JOYCE W. LINDAUER
LEE LAW FIRM, PLLC                       16818 DALLAS PARKWAY                      ATTORNEY AT LAW
8701 W. BEDFORD EULESS RD.               DALLAS, TX 75248                          1412 MAIN ST. STE 500
SUITE 510                                                                          DALLAS, TX 75202-4042
HURST, TX 76053



                                                                                   CM/ECF E-SERVICE
JPRS LLC                                 JPRS, LLC                                 JUJAAR SINGH +
8544 RUGBY DRIVE                         C/O JOYCE W. LINDAUER                     C/O SHAHID MANZOOR, ESQ.
IRVING, TX 75063                         JOYCE W. LINDAUER ATTORNEY, PLLC          3017 DOUGLAS BLVD., SUITE 104
                                         1412 MAIN STREET, SUITE 500               ROSEVILLE, CA 95661
                                         DALLAS, TX 75202




JUJAAR SINGH                             JUJAAR SINGH                              LAW OFFICE OF JOHNATHAN WHARTON
C/O JOYCE W. LINDAUER                    3049 STONINGTON DRIVE                     JOHNATHAN WHARTON
JOYCE W. LINDAUER ATTORNEY, PLLC         ROSEVILLE, CA 95747                       P.O. BOX 472027
1412 MAIN STREET, SUITE 500                                                        FORT WORTH, TX 76147
DALLAS, TX 75202




LEE LAW FIRM PLLC                        LINEBARGER GOGGAN BLAIR ET AL             MANZOOR LAW FIRM, INC
8701 BEDFORD EULESS ROAD                 2323 BRYAN 1600                           3017 DOUGLAS BLVD 104
SUITE 510                                DALLAS, TX 75201                          ROSEVILLE, CA 95661
HURST, TX 76053




                                                                                   CM/ECF E-SERVICE
MANZOOR LAW FIRM, INC.                   MERCEDES-BENZ FINANCIAL SERVICES          MERCEDES-BENZ FINANCIAL SERVICES USA
SHAHID MANZOOR, ESQ.                     P.O. BOX 961                              LLC +
3017 DOUGLAS BLVD., SUITE 104            ROANOKE, TX 76262                         C/O BK SERVICING, LLC
ROSEVILLE, CA 95661                                                                PO BOX 131265
                                                                                   ROSEVILLE, MN 55113-0011




MERCEDES-BENZ FINANCIAL SERVICES USA     MERCEDES-BENZ FINANCIAL SERVICES USA      MERCEDEZ-BENZ FINANCIAL SERVICES USA
LLC                                      LLC                                       LLC
C/O BK SERVICING, LLC                    C/O BK SERVICING, LLC                     PO BOX 5209
PO BOX 131265                            PO BOX 131265                             CAROL STREAM, IL 60197-5209
ROSEVILLE, MN 55113-0011                 ROSEVILLE, MN 55113



                                         CM/ECF E-SERVICE
PERDUE, BRANDON, FIELDER, COLLINS &      PLANO ISD +                               PNC
MOTT, L.L.P.                             GAY MCCALL ISAAKS GORDON AND ROBERTS PC   P.O. BOX 71335
1919 S. SHILOH RD., SUITE 640 LB40       777 E 15TH ST                             PHILADELPHIA, PA 19176
GARLAND, TX 75042                        PLANO, TX 75074




PNC BANK                                 PNC BANK NATIONAL ASSOCIATION             PNC BANK, N.A.
1 FINANCIAL PKWY                         PO BOX 94982                              1 FINANCIAL PKWY
KALAMAZOO, MI 49009-8002                 CLEVELAND, OH 44101                       KALAMAZOO, MI 49009
            CaseMAILING
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PNC BANK, NATIONAL ASSOCIATION            PNCBANK                                   PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 94982                              2730 LIBERTY AVE                          PO BOX 41067
CLEVELAND, OH 44101                       PITTSBURGH, PA 15222                      NORFOLK, VA 23541-1067




                                          CM/ECF E-SERVICE                          CM/ECF E-SERVICE
PORTFOLIO RECOVERY ASSOCIATES LLC         PRABHA SINGH +                            PRASHANT JADHAV +
PO BOX 12914                              C/O JOYCE W. LINDAUER                     C/O JOYCE W. LINDAUER
NORFOLK, VA 23541-2914                    JOYCE W. LINDAUER ATTORNEY, PLLC          JOYCE W. LINDAUER ATTORNEY, PLLC
                                          1412 MAIN ST., SUITE 500                  1412 MAIN ST., SUITE 500
                                          DALLAS, TX 75202                          DALLAS, TX 75202




QUILLING SELANDER CUMMISKEY & LOWNDS PC   R&R SKY TRADERS LLC                       R&R SKY TRADERS LLC
2001 BRYAN STREET, SUITE 1800             C/O JOYCE W. LINDAUER                     3809 CITADEL DRIVE
DALLAS, TX 75201                          JOYCE W. LINDAUER ATTORNEY, PLLC          GARLAND, TX 75040
                                          1412 MAIN STREET, SUITE 500
                                          DALLAS, TX 75202



CM/ECF E-SERVICE                          CM/ECF E-SERVICE
RAHUL ATHALE +                            RAY USA ENTERPRISE INC., SUDIPA RAY AND   RAY USA ENTERPRISE INC., SUDIPA RAY,
C/O JOYCE W. LINDAUER                     +                                         KUNTAL
JOYCE W. LINDAUER ATTORNEY, PLLC          KUNTAL RAY                                C/O JOHN PAUL STANFORD, ESQ.
1412 MAIN ST., SUITE 500                  C/O JOHN PAUL STANFORD, ESQ.              2001 BRYAN TOWER, STE. 1800
DALLAS, TX 75202                          2001 BRYAN TOWER, STE. 1800               DALLAS, TX 75201
                                          DALLAS, TX 75201


CM/ECF E-SERVICE                          CM/ECF E-SERVICE
SESHU MADABUSHI +                         SIDHARTHA MUKHERJEE +                     STEPHEN G WILCOX
C/O JOYCE W. LINDAUER                     SUNITA MUKHERJEE                          WILCOX LAW PLLC
JOYCE W. LINDAUER ATTORNEY, PLLC          3905 KITE MEADOW DRIVE                    PO BOX 201849
1412 MAIN ST., SUITE 500                  PLANO, TX 75074                           ARLINGTON, TX 76006
DALLAS, TX 75202



CM/ECF E-SERVICE
TERRY PARVAGA +                           TERRY PARVAGA                             TEXAS ALCOHOLIC BEVERAGE COMMISSION
JASBIR KAUR PARVAGA                       3809 CITADEL DRIVE                        LICENSES AND PERMIT DIVISION
C/O JOYCE W. LINDAUER                     GARLAND, TX 75040                         PO BOX 13127
JOYCE W. LINDAUER ATTORNEY, PLLC                                                    AUSTIN, TX 78711-3127
DALLAS, TX 75202




TEXAS COMPTROLLER OF PUBLIC ACCOUNTS      TEXAS EMPLOYMENT COMMISSION               THD/CBNA
REVENUE ACCOUNTING DIV - BANKRUPTCY       TEC BLDG-BANKRUPTCY                       PO BOX 6497
SECTION                                   101 EAST 15TH STREET                      SIOUX FALLS, SD 57117
PO BOX 13528                              AUSTIN, TX 78701-1442
AUSTIN, TX 78711-3528



                                          CM/ECF E-SERVICE
TOYOTA FINANCIAL SERVICES                 TOYOTA MOTOR CREDIT CORPORATION +         TOYOTA MOTOR CREDIT CORPORATION
6565 HEADQUARTERS DR                      PO BOX 9013                               14841 DALLAS PARKWAY, SUITE 350
PLANO, TX 75024                           ADDISON, TEXAS 75001                      DALLAS, TX 75254
                                          ADDISON, 75001




TRUIST BANK                               TRUIST BANK                               TRUIST BANK
SUPPORT SERVICES                          PO BOX 1847                               ATTN: SUPPORT SERVICES
PO BOX 85092                              WILSON, NC 27894                          P.O. BOX 85092
RICHMOND, VA 23286                                                                  RICHMOND, VA 23286
            CaseMAILING
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TRUIST BANK DDA/RECOVERY                 TRUIST BANK, SUPPORT SERVICES           TRUIST SUPPORT SERVICES
PO BOX 85041                             PO BOX 85092                            PO BOX 85092
306-40-06-60                             RICHMOND, VA 23286                      306-40-06-10
RICHMOND, VA 23285                                                               RICHMOND, VA 23286




UNITED STATES ATTORNEY                   UNITED STATES ATTORNEY GENERAL          UNITED STATES TRUSTEE'S OFFICE
110 NORTH COLLEGE AVE 700                MAIN JUSTICE BUILDING                   110 NORTH COLLEGE AVE 300
TYLER, TX 75702-0204                     10TH AND CONSTITUTION AVE 5111          TYLER, TX 75702-7231
                                         WASHINGTON, DC 20530




US SMALL BUSINESS ADMINISTRATION         US SMALL BUSINESS ADMINISTRATION        ZWICKER & ASSOCIATES PC
PO BOX 830794                            409 3RD ST SW                           ANTHONY CHERIAN
BIRMINGHAM, AL 35283                     WASHINGTON, DC 20416                    17950 PRESTON ROAD 750
                                                                                 DALLAS, TX 75252
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                    (ELECTRONIC SERVICE)  Filed 06/04/24       Entered 06/04/24 13:03:26    Desc Main
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(U.S. Trustee)                          (Creditor)                              (Creditor)
US Trustee                              Truist Bank                             Toyota Motor Credit Corporation
Office of the U.S. Trustee              Attn: Support Services                  14841 Dallas Parkway, Suite 350
110 N. College Ave.                     P.O. Box 85092                          Dallas, TX 75254
Suite 300                               Richmond, VA 23286                      represented by:
Tyler, TX 75702                                                                 Chandra Dianne Pryor
represented by:                                                                 Bonial & Associates PC
John M. Vardeman                                                                14841 Dallas Pkwy., Ste.425
UST Office                                                                      Dallas, TX 75254
110 N. College St., Suite 300
Tyler, TX 75702                                                                 chandra.pryor@bonialpc.com

john.m.vardeman@usdoj.gov




(Creditor)                              (Creditor)                              (Creditor)
Prabha Singh                            Jujaar Singh                            Harpreet Singh
7128 Chelsea Dr.                        c/o Joyce W. Lindauer                   7128 Chelsea Dr.
North Richland Hills, TX 76180          Joyce W. Lindauer Attorney, PLLC        North Richland Hills, TX 76180
represented by:                         1412 Main Street, Suite 500             represented by:
Joyce W. Lindauer                       Dallas, TX 75202                        Joyce W. Lindauer
Joyce Lindauer, Attorney                represented by:                         Joyce Lindauer, Attorney
1412 Main Street                        Joyce W. Lindauer                       1412 Main Street
Suite 500                               Joyce Lindauer, Attorney                Suite 500
Dallas, TX 75202                        1412 Main Street                        Dallas, TX 75202
                                        Suite 500
joyce@joycelindauer.com                 Dallas, TX 75202                        joyce@joycelindauer.com

                                        joyce@joycelindauer.com




(Creditor)                              (Creditor)                              (Creditor)
Sudipa Ray                              Kuntal Ray                              Dipak Pravin
c/o Quilling, Selander, Lownds, et al   c/o Quilling, Selander, Lownds, et al   c/o Joyce W. Lindauer
Attn: John Paul Stanford                Attn: John Paul Stanford                Joyce W. Lindauer Attorney, PLLC
2001 Bryan Street                       2001 Bryan Street                       1412 Main Street, Suite 500
Suite 1800                              Suite 1800                              Dallas, TX 75202
Dallas, TX 75201United States           Dallas, TX 75201                        represented by:
represented by:                         represented by:                         Joyce W. Lindauer
John Paul Stanford                      John Paul Stanford                      Joyce Lindauer, Attorney
Quilling, Selander, Lownds, et al       Quilling, Selander, Lownds, et al       1412 Main Street
2001 Bryan Street, Suite 1800           2001 Bryan Street, Suite 1800           Suite 500
Dallas, TX 75201                        Dallas, TX 75201                        Dallas, TX 75202

jstanford@qslwm.com                     jstanford@qslwm.com                     joyce@joycelindauer.com




(Creditor)                              (Trustee)                               (Creditor)
Plano ISD                               Linda S Payne                           Terry Parvaga
c/o Perdue Brandon Fielder et al        Linda S. Payne, Trustee                 c/o Joyce W. Lindauer
1919 S. Shiloh Road, Suite 640, LB 40   11700 Preston Road                      Joyce W. Lindauer Attorney, PLLC
Garland, TX 75042                       Suite 660-667                           1412 Main Street, Suite 500
represented by:                         Dallas, TX 75230                        Dallas, TX 75202
Linda Reece                             represented by:                         represented by:
Perdue Brandon Fielder Collins & Mott   Bill F. Payne                           Joyce W. Lindauer
LLP                                     Law Offices of Bill F. Payne, P.C.      Joyce Lindauer, Attorney
1919 S. Shiloh Road                     11700 Preston Road                      1412 Main Street
Suite 640, LB 40                        Ste 660-667                             Suite 500
Garland, TX 75042                       Dallas, TX 75230                        Dallas, TX 75202

lreece@pbfcm.com                        bill@wpaynelaw.com                      joyce@joycelindauer.com
COURT'S LIST Case
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(Creditor)                            (Creditor)                             James M. Morrison
Jasbir Kaur Parvaga                   Jaiesh Narsian                         Lee Law Firm, PLLC
c/o Joyce W. Lindauer                 c/o Joyce W. Lindauer                  8701 W. Bedford Euless Rd.
Joyce W. Lindauer Attorney, PLLC      Joyce W. Lindauer Attorney, PLLC       Suite 510
1412 Main Street, Suite 500           1412 Main Street, Suite 500            Hurst, TX 76053
Dallas, TX 75202                      Dallas, TX 75202
represented by:                       represented by:                        ecf@leebankruptcy.com
Joyce W. Lindauer                     Joyce W. Lindauer
Joyce Lindauer, Attorney              Joyce Lindauer, Attorney
1412 Main Street                      1412 Main Street
Suite 500                             Suite 500
Dallas, TX 75202                      Dallas, TX 75202

joyce@joycelindauer.com               joyce@joycelindauer.com




(Joint Debtor)PRO SE                  James M. Morrison                      (Debtor)PRO SE
Sunita Mukherjee                      Lee Law Firm, PLLC                     Sidhartha Mukherjee
3905 Kite Meadow Drive                8701 W. Bedford Euless Rd.             3905 Kite Meadow Drive
Plano, TX 75074                       Suite 510                              Plano, TX 75074
represented by:                       Hurst, TX 76053                        represented by:
Christopher M. Lee                                                           Christopher M. Lee
Lee Law Firm, PLLC                    ecf@leebankruptcy.com                  Lee Law Firm, PLLC
8701 W. Bedford Euless Road                                                  8701 W. Bedford Euless Road
Suite 510                                                                    Suite 510
Hurst, TX 76053                                                              Hurst, TX 76053

clee@leebankruptcy.com                                                       clee@leebankruptcy.com




(Trustee)                             (Creditor)                             (Creditor)
Christopher Moser                     Mercedes-Benz Financial Services USA   Seshu Madabushi
2001 Bryan Street, Suite 1800         LLC                                    c/o Joyce W. Lindauer
Dallas, TX 75201                      c/o Bk Servicing, LLC                  Joyce W. Lindauer Attorney, PLLC
represented by:                       PO Box 131265                          1412 Main St., Suite 500
Christopher Moser                     Roseville, MN 55113                    Dallas, TX 75202
2001 Bryan Street, Suite 1800         represented by:                        represented by:
Dallas, TX 75201                      Stephen Wilcox                         Joyce W. Lindauer
                                      Wilcox Law, PLLC                       Joyce Lindauer, Attorney
cmoser@qslwm.com                      P.O. Box 201849                        1412 Main Street
                                      Arlington, TX 76006                    Suite 500
                                                                             Dallas, TX 75202
                                      swilcox@wilcoxlaw.net
                                                                             joyce@joycelindauer.com




(Creditor)                            (Trustee)                              (Creditor)
Prashant Jadhav                       Carey D. Ebert                         Ceasons Holdings, LLC
c/o Joyce W. Lindauer                 P. O. Box 941166                       c/o Howard Marc Spector
Joyce W. Lindauer Attorney, PLLC      Plano, TX 75094-1166                   12770 Coit Rd, St 850
1412 Main St., Suite 500              represented by:                        Dallas, TX 75251
Dallas, TX 75202                      Carey D. Ebert                         represented by:
represented by:                       P. O. Box 941166                       Howard Marc Spector
Joyce W. Lindauer                     Plano, TX 75094-1166                   Spector & Cox, PLLC
Joyce Lindauer, Attorney                                                     12770 Coit Rd
1412 Main Street                      ECFch13plano@ch13plano.com             Suite 850
Suite 500                                                                    Dallas, TX 75251
Dallas, TX 75202
                                                                             hspector@spectorcox.com
joyce@joycelindauer.com
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Paul M Lopez                            Emily M. Hahn                          (Creditor)
Abernathy, Roeder, Boyd & Hullett, P.   Abernathy Roeder Boyd & Hullett P.C.   COLLIN COUNTY TAX ASSESSOR/COLLECTOR
C.                                      1700 Redbud Blvd.                      Abernathy, Roeder, Boyd & Hullett, P.
1700 Redbud Blvd.                       Ste. 300                               C.
Ste 300                                 McKinney, TX 75069                     1700 Redbud Blvd., Suite 300
McKinney, TX 75069                                                             McKinney, TX 75069
                                        ehahn@abernathy-law.com                represented by:
bankruptcy@abernathy-law.com                                                   Larry R Boyd
                                                                               Abernathy Roeder Boyd & Hullett P.C.
                                                                               1700 Redbud Blvd., Suite 300
                                                                               McKinney, TX 75069

                                                                               lboyd@abernathy-law.com
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(Creditor)                            (Creditor)
Rahul Athale                          Ally Capital, c/o AIS Portfolio
c/o Joyce W. Lindauer                 Services, LLC
Joyce W. Lindauer Attorney, PLLC      4515 N Santa Fe Ave. Dept. APS
1412 Main St., Suite 500              Oklahoma City, OK 73118
Dallas, TX 75202
represented by:
Joyce W. Lindauer
Joyce Lindauer, Attorney
1412 Main Street
Suite 500
Dallas, TX 75202

joyce@joycelindauer.com
